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ATTORNEYS FOR DIANNE AND VINCENT GUYTAN

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                           §                                  Chapter 11
                                                  §
 WILLIAMS FINANCIAL GROUP, INC.                   §                    Case No. 17-33578-HDH
                                                  §
                     Debtor.                      §
                                                  §                      (Jointly administered)


 CLAIMANTS DIANNE AND VINCENT GUYTAN’S WITHDRAWAL OF ELECTION
         FOR ESTIMATION OF SECURITIES-RELATED CLAIMS


          COME NOW Claimants Dianne Guytan and Vincent Guytan and hereby file this

Withdrawal of their Election for Estimation of Securities-Related Claims. In support hereof,

Claimants would respectfully show the following:

                                  BASIS FOR WITHDRAWAL

          On July 23, 2018, Elizabeth Yingling, counsel for Debtors emailed counsel for Dianne and

Vincent Guytan notifying them that the Liquidating Trustee does not agree with their claims as

filed and requires that the claims be estimated by the Claims Resolution Arbitrator or the

Bankruptcy Court. A true and correct copy of this correspondence is attached hereto as Exhibit

“A” and incorporated by reference herein. Ms. Yingling further requested that within thirty (30)

days of the correspondence, Claimants Dianne and Vincent Guytan provide supporting



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documentation for their claim and provide their election as to whether they want the claim

estimated by the Claims Resolution Arbitrator or the Bankruptcy Court. See Exhibit “A.”

       On August 17, 2018, at 10:33 a.m., Ms. Laura Richards Sherry, counsel for Claimants

Dianne and Vincent Guytan, responded to Ms. Yingling’s Information Request and Election

Request by way of email. A true and correct copy of this correspondence is attached hereto as

Exhibit “B” and incorporated herein by reference. Counsel for Claimants Dianne and Vincent

Guytan provided the requested information and informed Ms. Yingling that they chose to have

their claims estimated by the Bankruptcy Court. See Exhibit “B.”

       Later that same day, Mr. Dalton Harris, counsel for Claimants Dianne and Vincent Guytan,

emailed Ms. Yingling and requested that their election be changed to the Claims Resolution

Arbitrator (Hon. Glen Ashworth (Ret.)). A true and correct copy of this correspondence is attached

hereto as Exhibit “C” and incorporated herein by reference.

       On September 11, 2018, Claimants Dianne and Vincent Guytan attended a mediation

conducted by Hon. Glen Ashworth (Ret.) with the Liquidating Trustee and Ms. Yingling. A true

and correct copy of the mediation confirmation is attached hereto as Exhibit “D” and incorporated

herein by reference.

       During the mediation, the Debtor(s) and the Liquidating trustee raised several bankruptcy

legal issues as to why they dispute the claims of Dianne and Vincent Guytan. During such

mediation, Hon. Glen Ashworth (Ret.) informed the Guytans and their counsel that he does not

know anything about bankruptcy law and that, during the claims resolution arbitration(s), he would

be “learning as he goes.” Until the mediation on September 11, 2018, the Guytans did not know

that the Hon. Glen Ashworth (Ret.) lacked expertise in bankruptcy.




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       Additionally, Claimants Dianne and Vincent Guytan are concerned with the

appropriateness of having the Hon. (Ret.) Glen Ashworth, who conducted the September 11, 2018

mediation, estimate the Guytan’s security-related claims as the Arbitrator, as he heard privileged

information from both sides during the mediation.

       Given the bankruptcy legal issues raised by the Debtor(s) and the Liquidating Trustee and

Hon. (Ret.) Glen Ashworth’s admitted lack of expertise in bankruptcy law, the Guytans believe it

to be more prudent to have their claims estimated by the Bankruptcy Court instead of the Claims

Resolution Arbitrator. In NO WAY should this be considered critical of Hon. (Ret.) Glen

Ashworth – it is merely an attempt to choose the most appropriate forum for resolution of this

matter, which involves some fairly sophisticated bankruptcy issues.

       After such informal mediation, on September 18, 2018, Ms. Laura Richards Sherry emailed

Ms. Yingling and advised her of the Hon. (Ret.) Glen Ashworth’s comments and the Guytans’

desire to have the Bankruptcy Court estimate their claims. A true and correct copy of this

correspondence is attached hereto as Exhibit “E” and incorporated herein by reference.

       Ms. Yingling responded shortly thereafter and stated that the Guytans’ election had already

been made and cannot be changed. A true and correct copy of this correspondence is attached

hereto as Exhibit “F” and incorporated herein by reference.

       As such, Claimants Dianne and Vincent Guytan now seek relief from the Court to change

their election to have the Bankruptcy Court estimate their claims instead of the Claims Resolution

Arbitrator.

       WHEREFORE, Claimants Dianne and Vincent Guytan request the Court take notice of

this Withdrawal of Election for Estimation of Securities-Related Claims and change Claimants




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Dianne and Vincent Guytan’s election from the Claims Resolution Arbitrator to the Bankruptcy

Court, and for any other such relief as may be just and proper.

       Dated: September 21, 2018

                                                        Respectfully submitted,

                                                        THE HARRIS FIRM, P.C.
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                                                        By: /s/ Lee David Winston
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                                                               Laura Richards Sherry
                                                               State Bar No. 24056203
                                                        ATTORNEYS FOR DIANNE AND
                                                        VINCENT GUYTAN


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2018, a true and correct copy of the foregoing and

attached was served on Trustee, counsel for the Debtor(s) and all parties who have requested

electronic service via the Court’s ECF filing system.



                                                        /s/ Lee David Winston
                                                        Lee David Winston




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